
The decree of the Court of Appeals was as follows:
“ The court is of opinion that the said decree, so far as it sustains the right of the Appellee Corbin to indemnity out of the proceeds .of the effects and debts of Barnes &amp; Dandridge, surrendered by them to the trustee' Hawes, and directs the application of those proceeds and the outstanding debts to that object, is correct. The court is also of opinion that the appellants are entitled to any surplus, after Corbin is indemnified, of the debts and effects so surrendered, and of the proceeds of the house and lot mentioned in the deed from Barnes and Dandridge to Corbin, of the 6th day of February, 1837, and that the court below ought not to have dismissed their bills, until the whole subject, including the house and lot and the outstanding debts, had been administered, so as to ascertain whether or no there be any surplus; and if there be, then, instead of dismissing the bills, that surplus should be decreed to the appellants. Therefore it is decreed and ordered that the said decree, so far as it directs the application of the funds in the hands of the trustee Hawes to the indemnity or reimbursement of Corbin, be affirmed, and that so far *116as it dismisses the bills with costs, it be reversed and annulled,” with costs to the appellants. And cause REMANDED FOR FURTHER PROCEEDINGS IN CONFORMITY WITH THE PRINCIPLES OF THE FOREGOING OPINION AND DECREE.
